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                                                                                               CLERK OF STATE COURT
                                                                                           GWINNETT COUNTY, GEORGIA
                                                                                                    21-C-06314-S4
                                                                                              TIANA P. GARNER,CLERK

                        IN THE STATE COURT OF GWINNETT COUNTY
                                   STATE OF GEORGIA

CALVIN MOSES;

     Plaintiff,                                                 CIVIL ACTION
                                                                            21-C-06314-S4
V.                                                              FILE NO.

ROADRUNNER TRANSPORTATION                                      JURY TRIAL DEMANDED
SERVICES INC and JOHN DOE;

      Defendants.



                                     COMPLAINT FOR DAMAGES

        COMES NOW PLAINTIFF, by and through counsel of record, and files this Complaint for

 Damages showing this Honorable Court as follows:

                                                 1.

        This is an action for personal injury damages arising out of a collision involving a commercial

 motor vehicle operated by Defendants ROADRUNNER TRANSPORTATION SERVICES INC

(hereinafter"ROADUNNER TRANSPORTATION")and its driver, and Plaintiffs vehicle that occurred

 on Interstate 75/85 on September 29, 2020 in Fulton County, Georgia.

                               PARTIES, JURISDICTION, AND VENUE

                                                 2.

        ROADRUNNER TRANSPORTATION is a foreign corporation authorized to conduct

 business in the State of Georgia.

                                                 3.

        ROADRUNNER TRANSPORTATION maintains its principal place of busines in a state other

 than Georgia.




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                                                 4.

        ROADRUNNER TRANSPORTATION may be served with summons and complaint through

its Registered Agent: C T Corporation System at 289 S Culver Si, Lawrenceville, GA 30046 in

Gwinnett County.

                                                 5.

        The Federal Motor Carrier Safety Regulations require that every interstate motor carrier

(of property or passengers) shall designate a process agent, upon whom court papers may be

served in any legal proceeding brought against such motor carrier. This designation shall be

made for each State, in which the motor carrier is authorized to operate and for each State

traversed during such operations. ROADRUNNER TRANSPORTATION has designated Evilsizor

Process Services LLC to be its designated agent of service of process in the State of Georgia.

                                                6.

        ROADRUNNER TRANSPORTATION may be served with summons and complaint through

the BOC-3 Designated Process Agent: Christy Lamica at 11 Chestnut St. Bloomingdale, GA,31302.

                                                7.

        Once served with process, ROADRUNNER TRANSPORTATION is subject to the jurisdiction

of this Court.

                                                8.

        ROADRUNNER TRANSPORTATION was properly served with process in this civil action.

                                                9.

        ROADRUNNER TRANSPORTATION was sufficiently served with process in this civil action.

                                                 10.

        Venue in the above-styled civil action is proper in this County and Court as to

ROADRUNNER TRANSPORTATION.




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                                                      11.

        At all times material to this Complaint, ROADRUNNER TRANSPORTATION was registered

with the United States Department of Transportation's Federal Motor Carrier Safety Administration

as a for-hire interstate motor carrier of property.

                                                      12.

        At all times material to this Complaint, the United States Department of Transportation's

Federal    Motor     Carrier   Safety    Administration     ("FMCSA")   assigned   ROADRUNNER

TRANSPORTATION with USDOT No. 242009.

                                                      13.

        At all times material to this Complaint, the United States Department of Transportation's

Federal    Motor     Carrier   Safety    Administration     ("FMCSA")   assigned   ROADRUNNER

TRANSPORTATION with MC No. MC- 242009.

                                                      14.

        At the time of the collision described in this Complaint, Defendant ROADRUNNER

TRANSPORTATION was registered with the FMCSA as an interstate motor carrier.

                                                      15.

        At the time of the collision described in this Complaint, Defendant ROADRUNNER

TRANSPORTATION was registered with the FMCSA as a for-hire interstate motor carrier.

                                                      16.

        At the time of the collision described in this Complaint, Defendant ROADRUNNER

TRANSPORTATION was registered with the FMCSA as an interstate motor carrier of property.

                                                      17.

        At the time of the collision described in this Complaint, Defendant ROADRUNNER

TRANSPORTATION was operating as an interstate motor carrier or property.




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                                                  18.

         At all times material hereto, ROADRUNNER TRANSPORTATION was subject to the

Federal Motor Carrier Safety Regulations and all subsequent amendments thereto, promulgated,

approved, and adopted by the United States Department of Transportation ("USDOT")contained

in Title 49 of the Code of Federal Regulations.

                                                  19.

         At all times material hereto, ROADRUNNER TRANSPORTATION was subject to the

Federal Motor Carrier Safety Regulations and all subsequent amendments thereto, promulgated,

approved, and adopted by the United States Department of Transportation ("USDOT")contained

in Title 49 of the Code of Federal Regulations as approved and /or adopted by the State of

Georgia.

                                                 20.

         At all times material hereto, ROADRUNNER TRANSPORTATION was not permitted to

operate a commercial motor vehicle over the public roadways unless it as a motor carrier had

obtained and had in effect the minimum levels of financial responsibility as set forth in 49 CFR §

387.9.

                                                 21.

         At all times material hereto, ROADRUNNER TRANSPORTATION was required 49 CFR §

387.9 to have in effect and did have in effect a policy of motor vehicle insurance with liability limits

of at least $750,000.00.

                                                 22.

         At all times material hereto, ROADRUNNER TRANSPORTATION was required 49 CFR §

387.9 to have in effect and did have in effect a policy of motor vehicle insurance with liability limits

of at least $750,000.00.




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                                                 23.

        At all times material hereto, ROADRUNNER TRANSPORTATION was required 49 CFR §

387.9 to have in effect and did have in effect a policy of motor vehicle insurance with liability limits

of at least $750,000.00 that was issued by Defendant VELOCITY INSURANCE COMPANY.

                                                 24.

        At the time of the collision described in this Complaint, defendant ROADRUNNER

TRANSPORTATION had automobile liability coverage for compensatory damages that were

caused through 'the negligent operation of the commercial motor vehicle that defendant

ROADRUNNER TRANSPORTATION was operating at the time of the subject collision.

                                                   25.

        The liability coverage for the collision described in this Complaint is being provided to

defendant ROADRUNNER TRANSPORTATION through. a primary policy of insurance issued by

VELOCITY INSURANCE COMPANY, which provides coverage to defendant ROADRUNNER

TRANSPORTATION for compensatory damages, including bodily injury, that were caused

through the negligent operation of the commercial motor vehicle that defendant ROADRUNNER

TRANSPORTATION was operating at the time ofthe subject collision.

                                                   26.

        The liability coverage for the collision described in this Complaint is being provided to

defendant ROADRUNNER TRANSPORTATION through a primary policy of insurance issued by

VELOCITY INSURANCE COMPANY and further identified as Policy Number VIC-2016-02, which

provides coverage to defendant ROADRUNNER TRANSPORTATION for compensatory damages,

including bodily injury, that were caused through the negligent operation of the commercial motor

vehicle that defendant ROADRUNNER TRANSPORTATION was operating at the time of the

subject collision.




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                                                     27.

       At     the   time   of the     collision   described   in   this   Complaint,   ROADRUNNER

TRANSPORTATION'S DRIVER was operating a commercial motor vehicle over the public roadways

in Fulton County, Georgia.

                                                   28.

       At     the   time   of   the   collision   described   in   this   Complaint,   ROADRUNNER

TRANSPORTATION'S DRIVER was operating a commercial motor vehicle owned by Defendant

ROADRUNNER TRANSPORTATION over the public roadways in Fulton County, Georgia.

                                                   29.

       At     the   time   of   the   collision   described   in   this   Complaint,   ROADRUNNER

TRANSPORTATION'S DRIVER was operating a commercial motor vehicle with the permission of

Defendant ROADRUNNER TRANSPORTATION over the public roadways in Fulton County,

Georgia.

                                                   30.

       At     the   time   of the     collision   described   in   this   Complaint,   ROADRUNNER

TRANSPORTATION'S DRIVER was responsible for the safe and reasonable operation of a

commercial motor vehicle over the public roadways within and throughout the State of Georgia.

                                                   31.

       At all times material hereto, ROADRUNNER TRANSPORTATION'S DRIVER was subject

to the Federal Motor Carrier Safety Regulations and all subsequent amendments thereto,

promulgated, approved, and adopted by the United States Department of Transportation

contained in Title 49 of the Code of Federal Regulations as approved and adopted by the State

of Georgia.

                                                   32.

       At the time of the collision described in this Complaint, Defendant ROADRUNNER

TRANSPORTATION'S DRIVER was a permissive driver.



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                                                  33.

        At the time of the collision described in this Complaint, Defendant ROADRUNNER

TRANSPORTATION'S DRIVER was a permissive driver and covered by a policy of automobile

liability insurance.

                                                  34.

        At the time of the collision described in this Complaint, Defendant ROADRUNNER

TRANSPORTATION'S DRIVER was a permissive driver and covered by a policy of automobile

liability issued by VELOCITY INSURANCE COMPANY.

                                                 FACTS

                                                  35.

        Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth herein.

                                                  36.

        On September 29, 2020 Defendant ROADRUNNER TRANSPORTATION'S DRIVER was

operating the commercial motor vehicle travelling north on Interstate 75/85.

                                                      51.

        On September 29, 2020, at the same time, Plaintiff was also operating his vehicle

travelling north on Interstate 75/85 and was in front of the Defendant.

                                                      52.

        On September 29, 2020, Plaintiff stopped due to traffic up ahead.

                                                      53.

        On September 29, 2020, Defendant ROADRUNNER TRANSPORTATION'S DRIVER,

backed his tractor-trailer into Plaintiffs vehicle.

                                                      54.

        After hitting Plaintiffs vehicle, Defendant ROADRUNNER TRANSPORTATION'S

DRIVER did not stop but fled the scene of the collision.




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                                                   55.

       ROADRUNNER TRANSPORTATION'S DRIVER failed to operate his tractor-trailer in a

safe and prudent manner.

                                                   56.

   Plaintiff suffered injuries caused by this collision.

                                                   57.

       Diagram No. 1 is a not to scale diagram depicting the collision described in this

Complaint.




                                           1-75/85 NB Lanes


                                                      Area of Impact                       6


                                                                                           5


                                                                        V-2                4


                                                                                           3


                                                                                           2




                                           Diagram No. 1.

                                                   58.

      Officer Beaulieu investigated this collision described in this Complaint.




                                                                  A



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                                                  59.

 Photo No. 1 is picture of the tractor-trailer that backed into Plaintiff.


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                                             Photo No. 1




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                                                   60.

        Defendant ROADRUNNER TRANSPORTATION'S DRIVER violated of OCGA § 40-6-

240 at the time of the collision described in this Complaint, which caused the collision described

in this Complaint.

                                                  61.

        Defendant ROADRUNNER TRANSPORTATION's policies and procedures required its

driver to report the type of collision described in Plaintiffs Complaint.

                                                  62.

        Defendant ROADRUNNER TRANSPORTATION's DRIVER did not report the collision

described in Plaintiffs Complaint to ROADRUNNER TRANSPORTATION.

                                                  63.

       Had Defendant ROADRUNNER TRANSPORTATION's DRIVER reported the collision

described in Plaintiffs Complaint to ROADRUNNER TRANSPORTATION, it would have

conducted its own investigation of the colison.

                                                  64.

       Defendant ROADRUNNER TRANSPORTATION conducted its own investigation into the

cause of the subject collision.

                                                  65.

       Defendant ROADRUNNER TRANSPORTATION concluded that Defendant

ROADRUNNER TRANSPORTATION'S DRIVER violated of OCGA § 40-6-240 at the time of the

collision described in this Complaint.

                                                  66.

       Defendant      ROADRUNNER          TRANSPORTATION            concluded   that   Defendant

ROADRUNNER TRANSPORTATION'S DRIVER violated of OCGA § 40-6-240 at the time of the

collision described in this Complaint, which caused the collision described in this Complaint.




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                                                     67.

        Defendant ROADRUNNER TRANSPORTATION concluded that Defendant

ROADRUNNER TRANSPORTATION'S DRIVER was the sole cause of the subject collision.

                                                     68.

        No act or failure to act on the part of any Plaintiff caused or contributed to the cause of the

collision described in this Complaint.

                                                     69.

        No act or failure to act on the part of any third party caused or contributed to the collision

described in this Complaint.




                                                     70.

        No act or failure to act on the part of any third party caused or contributed to the injuries

suffered by Plaintiff in the collision described in this Complaint.

                                                     71.

        No act or failure to act on the part of the Plaintiff caused or contributed to the cause of his

claimed injuries.

                                                    72.

        No act or failure to act on the part of any third party caused or contributed to the collision

described in this Complaint.

                                                    73.

        Plaintiff was an innocent victim of the collision described in this Complaint.

                                                    74.

        The collision described in this Complaint caused Plaintiff to suffer injuries, losses, and

damages.

                                                    75.



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        Defendant ROADRUNNER TRANSPORTATION agrees that Defendants should fully and

fairly compensate Plaintiff for all injuries, losses, and damages that Plaintiff proves were more likely

than not caused by the collision described in this Complaint.

                                                   76.

        Defendant ROADRUNNER TRANSPORTATION'S DRIVER agrees that Defendants should

fully and fairly compensate Plaintiff for all injuries, losses, and damages that Plaintiff proves were

more likely than not caused by the collision described in this Complaint.

                                                   77.

        Defendant ROADRUNNER TRANSPORTATION'S DRIVER was an employee of

ROADRUNNER TRANSPORTATION at the time of the collision described in this Complaint.



                                                   78.

        Defendant ROADRUNNER TRANSPORTATION'S DRIVER was acting in the course and

scope of his employment with Defendant ROADRUNNER TRANSPORTATION at the time of the

collision described in this Complaint.

                                                   79.

        Defendant ROADRUNNER TRANSPORTATION'S DRIVER was an agent of

ROADRUNNER TRANSPORTATION at the time of the collision described in this Complaint.

                                                   80.

        Defendant ROADRUNNER TRANSPORTATION'S DRIVER was acting in the course and

scope of his agency with Defendant ROADRUNNER TRANSPORTATION at the time of the

collision described in this Complaint.

                        COUNT I - LIABILITY OF DEFENDANT MOTOR CARRIER

                      ROADRUNNER TRANSPORTATION SERVICES,INC

                                                   81.

       Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth herein.



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                                                   82.

        ROADRUNNER TRANSPORTATION was the owner of the tractor-trailer described in this

Complaint.

                                                   83.

        ROADRUNNER TRANSPORTATION was the owner of the tractor-trailer described in this

Complaint.

                                                   84.

        ROADRUNNER TRANSPORTATION was the motor carrier responsible for the hiring,

training qualifying and supervising of all drivers operating its commercial motor vehicles, including

for ROADRUNNER TRANSPORTATION'S DRIVER.



                                                   85.

       ROADRUNNER TRANSPORTATION was negligent in the following ways:

       a.       Negligently inspecting the commercial motor vehicle that Defendant

               ROADRUNNER TRANSPORTATION'S DRIVER was operating at the time of the

               collision described in this Complaint;

       b.      Negligently maintaining the commercial motor vehicle that Defendant

               ROADRUNNER TRANSPORTATION'S DRIVER was operating at the time of the

               collision described in this Complaint;

       c.      Negligently failing to keep the commercial motor vehicle that Defendant

               ROADRUNNER TRANSPORTATION'S DRIVER was operating at the time of the

               collision described in this Complaint in proper repair and working order;

       d.      Negligently hiring or contracting with Defendant ROADRUNNER

               TRANSPORTATION'S DRIVER to drive the commercial motor vehicle at issue;

       e.      Negligently training Defendant ROADRUNNER TRANSPORTATION'S DRIVER;




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       f.      Negligently entrusting Defendant ROADRUNNER TRANSPORTATION'S DRIVER

               to drive the commercial motor vehicle in a reasonably safe manner;

       g.      Negligently retaining Defendant ROADRUNNER TRANSPORTATION'S DRIVER

               to drive the commercial motor vehicle at issue;

       h.      Failing to supervise Defendant ROADRUNNER TRANSPORTATION'S DRIVER;

               and

               Otherwise failing to act as a reasonably prudent company under the circumstances.

                                                  86.

       Defendant ROADRUNNER TRANSPORTATION was also negligent per se in the cause of

this collision by operating the subject commercial motor vehicle in violation of 0.C.G.A.§ 40-6-48.




                                                  87.

       As a direct and proximate result of the negligence of Defendant motor carrier

ROADRUNNER TRANSPORTATION and its driver, ROADRUNNER TRANSPORTATION'S

DRIVER, in the ensuing collision, Plaintiffs sustained injuries.

                                                  88.

       Defendant     motor   carrier   ROADRUNNER          TRANSPORTATION, and             its   driver,

ROADRUNNER TRANSPORTATION'S DRIVER are liable for all damages allowed by law for the

injuries, damages, and losses sustained by Plaintiff as a result of the collision described in this

Complaint.

  COUNT II: RESPONDENT STATE LIABILITY OF DEFENDANT ROADRUNNER TRANSPORTATION

        FOR NEGLIGENCE OF ITS DRIVER ROADRUNNER TRANSPORTATION'S DRIVER

                                                  89.

       Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth herein.

                                                  90.



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        At all relevant times, ROADRUNNER TRANSPORTATION'S DRIVER owed the following

civil duties to Plaintiff but violated those duties in the following ways:

       (a)      Failing to back up properly;

       (b)      Failing to maintain proper control of his vehicle;

       (c)      Failing to keep a proper lookout for traffic;

       (d)      Failing to make reasonable and proper observations while driving;

       (e)      Failing to timely apply the brakes of his vehicle in order to avoid the collision in

                question;

       (f)      Failing to drive at a reasonable and prudent speed under the conditions;

       (9)      Failing to obey traffic laws;

       (h)      Otherwise failing to act reasonably and prudently as a driver should under the

                circumstances.

                                                     91.

        Defendant ROADRUNNER TRANSPORTATION'S DRIVER was also negligent perse in the

cause of this collision.

                                                     92.

        ROADRUNNER TRANSPORTATION's driver ROADRUNNER TRANSPORTATION'S

DRIVER was also negligent per se in that she violated a number of laws and regulations governing

her operation of a vehicle, including:

       (a)      Failing to Back Properly (0.C.G.A.§ 40-6-240);

       (b)      Failing to Drive with Due Care (0.C.G.A.§ 40-6-241);

       (c)      Failure to Drive Vehicle at a Reasonable and Prudent Speed Under the Conditions

               (0.C.G.A.§ 40-6-180);

       (d)      Failing to Obey Traffic Laws(0.C.G.A.§ 40-6-1); and

       (e)      Reckless Driving (0.C.G.A.§ 40-6-390).

                                                     93.



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        ROADRUNNER TRANSPORTATION's driver ROADRUNNER TRANSPORTATION'S

DRIVER was also negligent per se in the cause of this collision by operating the subject tractor-

trailer in violation Of 0.C.G.A.§ 40-8-7.

                                                   94.

        As a direct and proximate result of the negligence of Defendant ROADRUNNER

TRANSPORTATION'S DRIVER, Plaintiff sustained injuries, losses and damages.

                                                   95.

        Defendant ROADRUNNER TRANSPORTATION is responsible and liable for the negligent

acts of its driver, ROADRUNNER TRANSPORTATION'S DRIVER, under a theory of respondeat

superior and control.




                                                   96.

   •    As a direct and proximate result of the negligence and negligence per se of Defendant

ROADRUNNER TRANSPORTATION'S DRIVER, Plaintiff incurred and is entitled to recover special

damages, including, but not limited to, past and future medical expenses and past and future lost

income, and other miscellaneous expenses, in an amount that will be proved at trial. Plaintiff is also

entitled to recover for their general damages,including past and future pain and suffering and related

damages.

        COUNT III: COMBINED AND CONCURRING LIABILITY FOR COMPENSATORY DAMAGES

                                                  97.

       Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth herein.

                                                  98.

        Defendant ROADRUNNER TRANSPORTATION and/or its driver, ROADRUNNER

TRANSPORTATION'S DRIVER, acted in a manner which either alone, and/or combined and




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concurring with the actions of the other such Defendant's acts of negligence described herein,

directly and proximately caused the collision and Plaintiff's injuries, losses and damages.

                                                    99.

        As a direct and proximate result of the negligence of Defendant ROADRUNNER

TRANSPORTATION and its driver, ROADRUNNER TRANSPORTATION'S DRIVER, Plaintiff

was physically injured, have suffered, and will continue to suffer pain, disability, loss of earning

capacity, loss of enjoyment of life, anxiety, and related damages.

                                                100.

        As a direct and proximate result of the breaches of duty by Defendant ROADRUNNER

TRANSPORTATION and its driver, ROADRUNNER TRANSPORTATION'S DRIVER, Plaintiff is

entitled to recover fair and full compensation for all injuries and damages that have been suffered

as a proximate result of the collision and that will be suffered in the future as a result of the

collision, including, without limitation, all special damages and compensatory damages, medical

expenses, lost wages, and other necessary expenses, as well as fair and full compensation for

all pain and suffering, including physical pain, mental and emotional suffering, shock of impact,

disability, worry, anxiety, loss of enjoyment of life, loss of capacity to work, and other categories

of damages provided for under the law.

                                                101.

        To the extent that a jury awards Plaintiff compensatory damages in this case, Defendant

VELOCITY INSURANCE COMPANY is liable to pay Plaintiff such jury award at least up to the

limits provided by its automobile liability policy of insurance in effect at the time of the collision.

                             COUNT IV: HIT AND RUN PUNITIVE DAMAGES

                                                102.

       Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth herein.

                                                   103.




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       "Leaving the scene of an accident was criminalized under OCGA §§ 40-6-270(a) and (c)

and 40-6-271, as hit and run, because the public policy of this state mandates that a party to an

accident must stop and render aid to those involved in the collision, no matter who caused the

collision, and not leave them in a possibly disabled state without aid. Ga. Power Co. v. Shipp, 195

Ga. 446, 24 S.E.2d 764 (1943); Bellamy v. Edwards, 181 Ga.App. 887, 889(3), 354 S.E.2d 434

(1987); Battle v. Kilcrease, 54 Ga.App. 808, 809-810(4); 189 S.E. 573(1936).

                                                 104.

       Thus, such act of leaving the scene of acollision without even speaking to the other party,

as mandated by statute, was an intentional and culpable act; such conduct demonstrated a

conscious indifference to the consequences and an entire want of care as to the victim's well-

being, permitting the jury to find that such conduct was of an aggravated and indifferent nature

for purposes of imposing punitive damages. Bellamy v. Edwards, supra at 889, 354 S.E.2d 434;

Battle v. Kilcrease, supra at 809-810(4), 189 S.E. 573.



                                             105.

       Thus, such conduct alone was sufficient to show aggravated circumstances so as to

permit the jury to consider the imposition of punitive damages for such culpable conduct.

                                             106.

       In Georgia,"employers or principals may be vicariously liable for punitive damages arising

from the acts or omissions of their employees or agents if such tortious conduct is committed in

the course of the employer's or principal's business, within the scope of the servant's or agent's

employment, and is sufficient to authorize a recovery of punitive damages under OCGA § 51-12-

5.1." May v. Crane Brothers, Inc. 576 S.E.2d 286(GA 2003).

                                             107.




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       Plaintiff is entitled and seeks an award for punitive damages from Defendants

ROADRUNNER TRANSPORTATION and its driver, ROADRUNNER TRANSPORTATION'S

DRIVER.

             COUNT V: LIABILITY OF DEFENDANT VELOCITY INSURANCE COMPANY

                                                108.

       Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth herein.

                                                109.

       At the time of the collision described in this Complaint, Defendant VELOCITY •

INSURANCE COMPANY provided primary, motor vehicle liability coverage to ROADRUNNER

TRANSPORTATION.

                                                110.

       At the time of the collision described in this Complaint, Defendant VELOCITY INSURANCE

COMPANY       provided     primary,    motor    vehicle    liability   coverage   to    ROADRUNNER

TRANSPORTATION and to its driver, Defendant ROADRUNNER TRANSPORTATION'S DRIVER.




                                                1 11.

       At the time of the collision described in this Complaint, in the event of a motor vehicle collision

involving the ROADRUNNER TRANSPORTATION motor vehicle that was involved in the subject

collision, Defendant VELOCITY INSURANCE COMPANY provided primary, motor vehicle liability

coverage to ROADRUNNER TRANSPORTATION and to its driver, Defendant ROADRUNNER

TRANSPORTATION'S DRIVER.

                                                112.

      Defendant VELOCITY INSURANCE COMPANY provided primary liability coverage to

ROADRUNNER TRANSPORTATION in the event of a motor vehicle collision involving the

ROADRUNNER TRANSPORTATION tractor-trailer that was involved in the subject collision, as



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well as to ROADRUNNER TRANSPORTATION's employees and/or agents, including defendant

ROADRUNNER TRANSPORTATION'S DRIVER

                                               1 13.

      Plaintiff is a third-party beneficiary under said contract or policy of liability insurance.

                                               1 14.

      Plaintiff is entitled to receive payments from Defendant VELOCITY INSURANCE

COMPANY for the tort liability of Defendant ROADRUNNER TRANSPORTATION and its driver,

ROADRUNNER TRANSPORTATION'S DRIVER, in this civil action.

      WHEREFORE, Plaintiff prays that the following relief be granted:

      a)      A trial by jury;

      b)      For Summons and Complaint to issue against each Defendant;

      c)      For judgment against each Defendant to compensate Plaintiff for past and future

              injuries, losses and damages to be determined by a jury;

      d)      For an award of punitive damages to be determine by a jury

      e)      For judgment against each Defendant for attorneys' fees and expenses of

              litigation;

      f)      Court costs, discretionary costs, and prejudgment interest; and

      g)      For all such further and general relief which this Court deems just and proper.


      Dated this 26th day of August 2021.

                                               WLG ATLANTA, LLC

                                               /sl R. SL9k,Mc-Ey-cry
                                               R. SEAN MCEVOY
                                               GEORGIA STATE BAR NUMBER 490918
                                               ATTORNEY FOR PLAINTIFF

600 PEACHTREE STREET, NE, SUITE 4010
ATLANTA, GA 30308
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                             COMPLAINT FOR DAMAGES — Page 20
       Case 1:21-cv-03953-MHC Document 1-1 Filed 09/24/21 Page 22 of 51                      E-FILED IN OFFICE - RJ
                                                                                           CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                21-C-06314-S4
                                                                                             8/26/2021 9:55 AM
                                                                                           TIANA P. GARNER,CLERK

                        IN THE STATE COURT OF GWINNETT COUNTY
                                   STATE OF GEORGIA

CALVIN MOSES;

     Plaintiff,                                               CIVIL ACTION
                                                                         21-C-06314-S4
V.                                                            FILE NO.

ROADRUNNER TRANSPORTATION
SERVICES INC;
and JOHN DOE;

      Defendants.



                  PLAINTIFF'S FIRST COMBINED INTERROGATORIES
            AND REQUESTS FOR ADMISSIONS SERVED WITH THE COMPLAINT
            TO DEFENDANT ROADRUNNER TRANSPORTATION SERVICES INC.

        COMES NOW Plaintiff in the above-captioned lawsuit and pursuant to 0.C.G.A. §§ 9-11-

 33 and 9-11-36 hereby propound the following Interrogatories and Requests for Admissions to

 Defendant ROADRUNNER TRANSPORTATION SERVICES INC. (hereinafter ROADRUNNER

 TRANSPORTATION")for response under oath to the subject interrogatories, pursuant to Rule 33

 of the Georgia Civil Practice Act, and as required by law.

                                          DEFINITIONS

        As used herein, the terms listed below are defined as follows:

     1. The term "Document" as used herein shall be given a very broad definition to include

 every type of paper, writing, data, record, graphic, drawing, photograph, audio recording and

 video recording. The term includes material in all forms, including printed, written, recorded, or

 other. The term includes all files, records and data contained in any computer system, computer

 component and/or computer storage (e.g., hard drive, disc, magnetic tape, backup system,

 etc.). This term includes, but is not limited to, correspondence, reports, meeting minutes,

 memoranda, stenographic or handwritten notes, diaries, notebooks, account books, orders,




 PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
    WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 1
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invoices, statements, bills, checks, vouchers, purchase orders, studies, surveys, charts, maps,

analyses, publications, books, pamphlets, periodicals, catalogues, brochures, schedules,

circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail attachments, data

sheets, work sheets, statistical compilations, data processing cards, microfilms, computer records

(including printouts, disks or other magnetic storage media), tapes, photographs (positive or

negative prints), drawings, films, videotapes, hard drive recordings, pictures, and voice

recordings. Plaintiff expressly intends for the term "Document" to include every copy of such

writing, etc. when such copy contains any commentary or notation whatsoever that does not

appear on the original and any attachments or exhibits to the requested document or any other

documents referred to in the requested document or incorporated by reference.

    2. "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision thereof.

    3. (a)    "Identify" with respect to any "person" or any reference to stating the "identity"

of any "person" means to provide the name, home address, telephone number, business name,

business address, and business telephone number of such person, and a description of each

such person's connection with the events in question.

      (b)     "Identify" with respect to any "document" or any reference to stating the

"identification" of any "document" means to provide the title and date of each such document,

the name and address of the party or parties responsible for the preparation of each such

document, the name and address of the party who requested or required the preparation of the

document or on whose behalf it was prepared, the name and address of the recipient or

recipients of each such document, and the names and addresses of any and all persons who

have custody or control of each such document, or copies thereof.

   4. "Similar" shall have the meaning given in the American Heritage Dictionary, which is

"showing some resemblance; related in appearance or nature; alike but not identical." As used




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 2
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here, the word "similar" shall not be limited as if modified by the word "substantially" and shall

not mean "the same". If you limit the information provided because you use another

interpretation of the word "similar," please state the interpretation you are using and reveal the

nature of the information withheld.

   5.     The terms "and" as well as "or" shall be each construed conjunctively and disjunctively

as necessary to bring within the scope of each interrogatory and request for documents all

information and documents that might otherwise be construed to be outside its scope. The term

"and/or" shall be construed likewise.

   6.     Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be construed to be

outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb in

all other tenses; (ii) the use of the singular shall be construed as the use of the plural and vice

versa; and (iii) "any" includes "all," and "all" includes "any."

   7.     With regard to any term used herein that is deemed by the responding party as being

ambiguous or vague, a term shall be construed in its broadest sense to encompass all

reasonable definitions of that term.

   8. "Subject Collision" means the collision described in the Complaint.

   9. "ROADRUNNER TRANSPORTATION,""You","Your," or "Yours" means Defendant

        ROADRUNNER TRANSPORTATION.

    10."DEFENDANT TRUCK DRIVER" as used herein refers to and means Defendant Truck

Driver described in Complaint.




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 3
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                                 REQUESTS FOR ADMISSION

REQUEST NO. 1          ROADRUNNER TRANSPORTATION was the owner of the tractor that

was involved in the Subject Collision.

REQUEST NO.2           ROADRUNNER TRANSPORTATION was the owner of the trailer that

was involved in the Subject Collision.

REQUEST NO. 3         At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was an agent of ROADRUNNER TRANSPORTATION.

REQUEST NO.4          At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was an employee of ROADRUNNER TRANSPORTATION.

REQUEST NO.5          At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was an owner operator working for ROADRUNNER

TRANSPORTATION under a lease agreement.

REQUEST NO.6          At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was an owner operator working for ROADRUNNER

TRANSPORTATION under a lease agreement, the terms of which complied with the Federal

Motor Carrier Safety Regulations.

REQUEST NO.7          At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was acting within the course and scope of his employment,

agency and/or lease with ROADRUNNER TRANSPORTATION.

REQUEST NO.8          At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was operating the tractor owned by ROADRUNNER

TRANSPORTATION.

REQUEST NO.9            At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was hauling a trailer owned by ROADRUNNER

TRANSPORTATION




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 4
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REQUEST NO. 10          At the time of the Subject Collision, ROADRUNNER

TRANSPORTATION'S DRIVER was operating the tractor-trailer as trained by ROADRUNNER

TRANSPORTATION.

REQUEST NO. 11          ROADRUNNER TRANSPORTATION 's corporate name was properly

stated in the Complaint.

REQUEST NO. 12          Venue is proper in this Court.

REQUEST NO. 13          Jurisdiction is proper in this Court.

REQUEST NO. 14          Service of process upon ROADRUNNER TRANSPORTATION in this civil

action was, proper.

REQUEST NO. 15          Service of process upon ROADRUNNER TRANSPORTATION in this civil

action was legally sufficient.

REQUEST NO. 16          At all times material hereto, ROADRUNNER TRANSPORTATION'S

DRIVER was subject to the Federal Motor Carrier Safety Regulations and all subsequent

amendments thereto, promulgated, approved, and adopted by the United States Department of

Transportation contained in Title 49 of the Code of Federal Regulations and/or as adopted by

the State of Georgia.

REQUEST NO. 17          At the time of the collision described in this Complaint, defendant

ROADRUNNER TRANSPORTATION had automobile liability coverage for compensatory

damages that were caused through the negligent operation of the vehicle that defendant

ROADRUNNER TRANSPORTATION was operating at the time of the subject collision.

REQUEST NO. 18          The liability coverage for the collision described in this Complaint is being

provided to defendant ROADRUNNER TRANSPORTATION through a primary policy of

insurance issued by VELOCITY INSURANCE COMPANY, which provides coverage to

defendant ROADRUNNER TRANSPORTATION for compensatory damages, including bodily




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 5
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injury, that were caused through the negligent operation of the vehicle that defendant

ROADRUNNER TRANSPORTATION was operating at the time of the subject collision.

REQUEST NO. 19         The liability coverage for the collision described in this Complaint is being

provided to defendant ROADRUNNER TRANSPORTATION through a primary policy of

insurance issued by VELOCITY INSURANCE COMPANY and further identified as Policy

Number VIC-2016-02, which provides coverage to defendant ROADRUNNER

TRANSPORTATION for compensatory damages, including bodily injury, that were caused

through the negligent operation of the tractor-trailer that defendant ROADRUNNER

TRANSPORTATION was operating at the time of the subject collision.

REQUEST NO. 20         At the time of the collision described in this Complaint, ROADRUNNER

TRANSPORTATION was operating a tractor-trailer over the public roadways in Fulton County,

Georgia.

REQUEST NO. 21         At the time of the collision described in this Complaint, ROADRUNNER

TRANSPORTATION'S DRIVER was operating a tractor-trailer owned by Defendant

ROADRUNNER TRANSPORTATION over the public roadways in Fulton County, Georgia.

REQUEST NO. 22         At the time of the collision described in this Complaint, ROADRUNNER

TRANSPORTATION'S DRIVER was responsible for the safe and reasonable operation of a

tractor-trailer over the public roadways within and throughout the State of Georgia.

REQUEST NO. 23         At the time of the collision described in this Complaint, Defendant

ROADRUNNER TRANSPORTATION'S DRIVER was a permissive driver and covered by a

policy of automobile liability insurance.

REQUEST NO. 24         At the time of the collision described in this Complaint, Defendant

ROADRUNNER TRANSPORTATION'S DRIVER was a permissive driver and covered by a

policy of automobile liability issued by VELOCITY INSURANCE COMPANY.




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 6
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REQUEST NO. 25        On       September        29,       2020         Defendant   ROADRUNNER

TRANSPORTATION'S DRIVER was operating a tractor-trailer travelling north on Interstate 75/85. .

REQUEST NO. 26        On September 29, 2020, at the same time, Plaintiff was also operating his

vehicle travelling north on Interstate 75/85 and was in front of the Defendant.

REQUEST NO. 27        On September 29, 2020, Plaintiff stopped due to traffic up ahead.

REQUEST NO. 28        On September 29, 2020, Defendant ROADRUNNER

TRANSPORTATION'S DRIVER backed into Plaintiff's vehicle.

REQUEST NO. 29        After hitting Plaintiffs vehicle, Defendant ROADRUNNER

TRANSPORTATION'S DRIVER did not stop but fled the scene of the collision.

REQUEST NO. 30        ROADRUNNER TRANSPORTATION'S DRIVER failed to operate his

commercial motor vehicle in a safe and prudent manner.

REQUEST NO. 31        Plaintiff suffered injuries caused by this collision.

REQUEST NO. 32        Diagram No. 1 is a not to scale diagram depicting the collision described

in this Complaint.

                                          1-75/85 NB Lanes


                                                      Area of Impact                 6


                                                                                     5


                                                                          V-2


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                                                                                     2




                                         Diagram No. 1.




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 7
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REQUEST NO. 33                   Officer Beaulieu investigated this collision described in this Complaint

REQUEST NO. 34                   Photo No. 1 is picture of the tractor-trailer that backed into Plaintiff.


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                                                                                     Photo No. 1

REQUEST NO. 35                   Defendant ROADRUNNER TRANSPORTATION'S DRIVER violated of

OCGA § 40-6-240 at the time of the collision described in this Complaint, which caused the




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 8
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collision described in this Complaint.

REQUEST NO. 36          Defendant ROADRUNNER TRANSPORTATION'S DRIVER violated of

OCGA § 40-6-240 at the time of the collision described in this Complaint, which caused the

collision described in this Complaint.

REQUEST NO.37           Defendant ROADRUNNER TRANSPORTATION's policies and procedures

required its driver to report the type of collision described in Plaintiffs Complaint.

REQUEST NO. 38          Defendant ROADRUNNER TRANSPORTATION's DRIVER did not report

the collision described in Plaintiff's Complaint to ROADRUNNER TRANSPORTATION.

REQUEST NO. 39          Had Defendant ROADRUNNER TRANSPORTATION's DRIVER reported

the collision described in Plaintiffs Complaint to ROADRUNNER TRANSPORTATION, it would

have conducted its own investigation of the colison.

REQUEST NO.40           Defendant ROADRUNNER TRANSPORTATION conducted its own

investigation into the cause of the subject collision.

REQUEST NO.41           Defendant ROADRUNNER TRANSPORTATION concluded that

Defendant ROADRUNNER TRANSPORTATION'S DRIVER violated of OCGA § 40-6-240 at the

time of the collision described in this Complaint.

REQUEST NO.42           Defendant ROADRUNNER TRANSPORTATION concluded that

Defendant ROADRUNNER TRANSPORTATION'S DRIVER violated of OCGA § 40-6240 at the

time of the collision described in this Complaint, which caused the collision described in this

Complaint.

REQUEST NO.43           Defendant ROADRUNNER TRANSPORTATION concluded that

Defendant ROADRUNNER TRANSPORTATION'S DRIVER was the sole cause of the subject

collision.

REQUEST NO.44           No act or failure to act on the part of any Plaintiff caused or contributed to

the cause of the collision described in this Complaint.




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 9
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REQUEST NO.45           No act or failure to act on the part of any third party caused or contributed to

the collision described in this Complaint.

REQUEST NO.46           No act or failure to act on the part of any third party caused or contributed to

the injuries suffered by Plaintiff in the collision described in this Complaint.

REQUEST NO.47           No act or failure to act on the part of the Plaintiff caused or contributed to

the cause of his claimed injuries.

REQUEST NO.48           No act or failure to act on the part of any third party caused or contributed to

the collision described in this Complaint.

REQUEST NO.49           Plaintiff was an innocent victim of the collision described in this Complaint.

REQUEST NO. 50          The collision described in this Complaint caused Plaintiff to suffer injuries,

losses, and damages.

REQUEST NO. 51          Defendant ROADRUNNER TRANSPORTATION agrees that Defendants

should fully and fairly compensate Plaintiff for all injuries, losses, and damages that Plaintiff proves

were more likely than not caused by the collision described in this Complaint.

REQUEST NO. 52          Defendant ROADRUNNER TRANSPORTATION'S DRIVER agrees that

Defendants should fully and fairly compensate Plaintiff for all injuries, losses, and damages that

Plaintiff proves were more likely than not caused by the collision described in this Complaint.

REQUEST NO.53           Defendant ROADRUNNER TRANSPORTATION'S DRIVER was an

employee of ROADRUNNER TRANSPORTATION at the time of the collision described in this

Complaint.

REQUEST NO. 54          Defendant ROADRUNNER TRANSPORTATION'S DRIVER was acting in

the course and scope of his employment with Defendant ROADRUNNER TRANSPORTATION at

the time of the collision described in this Complaint.

REQUEST NO.55           Defendant ROADRUNNER TRANSPORTATION'S DRIVER was an agent

of ROADRUNNER TRANSPORTATION at the time of the collision described in this Complaint.




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 10
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REQUEST NO. 56          Defendant ROADRUNNER TRANSPORTATION'S DRIVER was acting in

the course and scope of his agency with Defendant ROADRUNNER TRANSPORTATION at the

time of the collision described in this Complaint.

REQUEST NO.57           "Leaving the scene of an accident was criminalized under OCGA §§ 40-

6-270(a) and (c) and 40-6-271, as hit and run, because the public policy of this state mandates

that a party to an accident must stop and render aid to those involved in the collision, no matter

who caused the collision, and not leave them in a possibly disabled state without aid. Ga. Power

Co. v. Shipp, 195 Ga. 446, 24 S.E.2d 764 (1943); Bellamy v. Edwards, 181 Ga.App. 887,

889(3), 354 S.E.2d 434 (1987); Battle v. Kilcrease, 54 Ga.App. 808, 809-810(4), 189 S.E. 573

(1936).

REQUEST NO. 58         Thus, such act of leaving the scene of a collision without even speaking

to the other party, as mandated by statute, was an intentional and culpable act; such conduct

demonstrated a conscious indifference to the consequences and an entire want of care as to

the victim's well-being, permitting the jury to find that such conduct was of an aggravated and

indifferent nature for purposes of imposing punitive damages. Bellamy v. Edwards, supra at

889, 354 S.E.2d 434; Battle v. Kilcrease, supra at 809-810(4), 189 S.E. 573.

REQUEST NO. 59         Thus, such conduct alone was sufficient to show aggravated

circumstances so as to permit the jury to consider the imposition of punitive damages for such

culpable conduct.

REQUEST NO.60          In Georgia,"employers or principals may be vicariously liable for punitive

damages arising from the acts or omissions of their employees or agents if such tortious

conduct is committed in the course of the employer's or principal's business, within the scope of

the servant's or agent's employment, and is sufficient to authorize a recovery of punitive

damages under OCGA § 51-12-5.1." May v. Crane Brothers, Inc. 576 S.E.2d 286(GA 2003).




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 11
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 REQUEST NO.61          Plaintiff is entitled and seeks an award for punitive damages from

 Defendants ROADRUNNER TRANSPORTATION and its driver, ROADRUNNER

TRANSPORTATION'S DRIVER.

REQUEST NO.62             Unknown Defendant Driver gave a recorded statement to one (1) or

 more insurance companies that provided liability coverage for the tractor-trailer that DRIVER

was driving at the time of the Subject Collision.

REQUEST NO.63           DRIVER had a mobile cellular device present inside his vehicle at the

time of the Subject Collision.

REQUEST NO.64           DRIVER had more than one (1) mobile cellular device was present inside

his tractor-trailer at the time of the Subject Collision.

REQUEST NO.65           DRIVER was using at least one (1) mobile cellular device in his truck at

the time of the Subject Collision.

REQUEST NO.66           DRIVER was using more than one (1) mobile cellular device inside his

tractor-trailer at the time of the Subject Collision.

REQUEST NO.67           While at the scene of the collision, DRIVER conversed with at least one

(1) person about what had happened before, during, and/or after the Subject Collision using a

mobile cellular device.

REQUEST NO.68           While at the scene of the collision, DRIVER texted at least one (1) person

about what had happened before, during, and/or after the Subject Collision using a mobile

cellular device.

REQUEST NO.69           While at the scene of the collision, DRIVER had a cellular mobile device

or a camera that he could have used to take pictures of the scene of the Subject Collision, the

vehicles involved, and/or the persons involved.




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 12
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REQUEST NO.70            While at the scene of the collision, DRIVER took at least one (1)

photograph of the scene of the Subject Collision, the vehicles involved, and/or the persons

involved using a mobile cellular device.

REQUEST NO. 71           While at the scene of the collision, DRIVER took video recording(s) using

a mobile cellular device of the scene of the Subject Collision, the vehicles involved, and/or the

persons involved.

REQUEST NO.72            While at the scene of the collision, DRIVER took audio recording(s) of the

scene of the Subject Collision, the vehicles involved, and/or the persons involved using a mobile

cellular device.

                                         INTERROGATORIES

INTERROGATORY NO. 1              Please identify the name of your driver described in Plaintiffs

Complaint, along with his last known address, cell phone number, land line number, date of birth

and social security number.

INTERROGATORY NO.2               If you contend that plaintiff has sued the wrong party or that your

name is incorrectly stated in this lawsuit, please explain the basis for your contention and

identify the correct legal entity for the correct party in interest to this suit.

INTERROGATORY NO.3               For each liability insurance policy that you had in place at the time

of the Subject Collision, state the name of insurer; the policy number; the limits of coverage; the

name(s) of all insureds; and whether any insurer has offered a defense under a reservation of

rights or otherwise contested coverage for the subject case. Please note that this interrogatory is

requesting information relating to ALL insurance coverage including excess coverage.

Please provide the weight of the subject tractor-trailer at the time of the Subject Collision.

INTERROGATORY NO.4               Explain the relationship between Defendant ROADRUNNER

TRANSPORTATION and Defendant Driver at the time of the Subject Collision including his

employment status (e.g., leased driver, company driver, etc.), how she was compensated for




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
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driving (e.g., by the hour, by the load, by the mile, salary, or other) and when the relationship

began and ended.

INTERROGATORY NO.5             If you maintain that Defendant Driver was not acting within the

course and scope of his employment or agency at the time of the Subject Collision, explain the

basis for your contention and identify documents and witnesses that support your contention.

INTERROGATORY NO.6             Identify and explain all communications of any kind between

Defendant Driver and anyone acting for or on behalf of Defendant ROADRUNNER

TRANSPORTATION during the twenty-four(24) hours before and after the Subject Collision.

For each communication, identify the method of communication (cell phone, QualComm, other),

time of communication, persons involved, and the general subject.

INTERROGATORY NO.7             Identify all Defendant ROADRUNNER TRANSPORTATION 'S

policies, procedures, rules, guidelines, directives, manuals, handbooks and instructions that

were in effect for Defendant Driver at the time of the Subject Collision, that dealt with or

addressed defensive and/or safe driving practices and procedures.

INTERROGATORY NO.8             Identify all Defendant ROADRUNNER TRANSPORTATION 'S

policies, procedures, rules, guidelines, directives, manuals, handbooks and instructions and

training applicable to Defendant Driver regarding safe and defensive driving practices and

procedures.

INTERROGATORY NO.9             Describe in detail when and how you first became aware that

Defendant Driver was involved in the Subject Collision including in your answer the identity of all

persons involved in the investigation of the Subject Collision, their role and position and what

information was conveyed.

INTERROGATORY NO. 10 State whether you maintain that either Plaintiff or any non-party

has any responsibility of any kind for causing the ROADRUNNER TRANSPORTATION and/or

the damages alleged in the Complaint and provide a detailed description of the basis for your




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 14
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position, including the identity of all person(s) who have any knowledge regarding this issue

and/or all documents evidencing your position.

INTERROGATORY NO. 11 Identify all persons who to your knowledge were present at the

scene of the Subject Collision at any time in the forty-eight(48) hours after the Subject Collision

and explain their role, why they were at the scene and what actions they took.

INTERROGATORY NO. 12 Identify all person(s) who you to your knowledge have or may

have any relevant information regarding: the Subject Collision; the facts leading up to the

Subject Collision; the investigation of the Subject Collision; any party to this action; any vehicles

involved in the Subject Collision; and/or any claims or defenses raised in this action. The

purpose of this Interrogatory is to identify all witnesses whom Defendant ROADRUNNER

TRANSPORTATION believes may have relevant testimony of any kind in connection with this

case.

INTERROGATORY NO.13 Identify all photographs, motion pictures, maps, plats, drawings,

diagrams, videotapes, or other tangible or documentary evidence depicting the scene of the

Subject Collision and/or any person or vehicle involved in the Subject Collision.

INTERROGATORY NO. 14 Please identify all mechanical defects in your tractor-trailer that

caused in whole or in part your driver to lose control of the tractor-trailer and/or the collision

described in the Complaint, as well as all documents evidencing the existence of such defect(s)

and/or the repair of such defects.

INTERROGATORY NO.15 Please identify all person(s) who have any knowledge or

information concerning the inspection, maintenance and repair of the tractor-trailer involved in the

collision described in the Complaint, as well as all documents evidencing inspections,

maintenance and repair of the subject tractor-trailer.

INTERROGATORY NO. 16 Did Defendant ROADRUNNER TRANSPORTATION make any

effort to perform any accident review, any avoidable/non-avoidable accident determination, any




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root cause analysis, any DOT reportability determination or any type of investigation or analysis

to discover the cause(s) or contributing cause(s) of the Subject Collision and/or to evaluate

whether your driver should be disciplined for any action or inactions related to the Subject

Collision? If so, please identify all person(s) involved, all documents and information reviewed,

and all determinations.

INTERROGATORY NO. 17 Identify each person Defendant ROADRUNNER

TRANSPORTATION expects to call as an expert witness at trial including in your response a

summary of each opinion the expert holds in regard to this case, the factual basis for each such

opinion, a list of all documents and evidence of any kind provided to the expert for review and a

list of all documents and evidence of any kind that support each opinion.

INTERROGATORY NO. 18 Identify each person who was involved in responding to each of

the Requests for Admission served upon you in this civil action.

INTERROGATORY NO. 19 Identify each person who provided information to the person

verifying these interrogatory responses to be used or potentially used in answering the

interrogatories.

INTERROGATORY NO.20 For each of Plaintiffs First Request for Admissions to Defendant

ROADRUNNER TRANSPORTATION that you did not admit without qualification, explain in

detail the reason for your refusal to admit and identify all persons and documents that support

your response.

       Served with the Complaint upon all Defendants.

                                             WLG ATLANTA, LLC
                                             /s/ R. Sean McEvoy
                                             R. SEAN MCEVOY
                                             GEORGIA STATE BAR NUMBER 490918
                                             A TTORNEY FOR PLAINTIFF
600 PEACHTREE ST, NE,SUITE 4010
ATLANTA, GEORGIA 30308
TELEPHONE:    470-480-7540
E-MAIL:       sean.mcevoywitheritelaw.com




PLAINTIFF'S FIRST COMBINED INTERROGATORIES AND REQUESTS FOR ADMISSIONS SERVED
   WITH THE COMPLAINT TO DEFENDANT ROADRUNNER TRANSPORTATION LLC — Page 16
                                                                                                                                            E-FILED IN OFFICE - RJ
                          Case 1:21-cv-03953-MHC Document 1-1 Filed 09/24/21 Page 38 of 51                                                CLERK OF STATE COURT
                                                                                                                                      GWINNETT COUNTY, GEORGIA
                                   General Civil and Domestic Relations Case Filing Information Form                                               21-C-06314-S4
                                                                                                                                               8/26/2021 9:55 AM
                                                                                                                                          TIANA P. GARNER, CLERK
                                                                       Gwinnett
                                        ☐ Superior or ☐ State Court of ______________________________ County

              For Clerk Use Only
                                                                                                                21-C-06314-S4
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Moses         Calvin                                                           __________________________________________________
                                                                                     Roadrunner Transportation Services INC
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix

                           R. Sean McEvoy
      Plaintiff’s Attorney ________________________________________                  490918
                                                                    State Bar Number __________________ Self-Represented ☐

                                Check one case type and one sub-type in the same box (if a sub-type applies):

              General Civil Cases
                                                                                              Domestic Relations Cases
              ☐           Automobile Tort
              ☐           Civil Appeal                                                        ☐            Adoption
              ☐           Contempt/Modification/Other                                         ☐            Contempt
                          Post-Judgment                                                                    ☐ Non-payment of child support,
              ☐           Contract                                                                         medical support, or alimony
              ☐           Garnishment                                                         ☐            Dissolution/Divorce/Separate
              ☐           General Tort                                                                     Maintenance/Alimony
              ☐           Habeas Corpus                                                       ☐            Family Violence Petition
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Modification
              ☐           Landlord/Tenant                                                                  ☐ Custody/Parenting Time/Visitation
              ☐           Medical Malpractice Tort                                            ☐            Paternity/Legitimation
              ☐           Product Liability Tort                                              ☐            Support – IV-D
              ☐           Real Property                                                       ☐            Support – Private (non-IV-D)
              ☐           Restraining Petition                                                ☐            Other Domestic Relations
              ☐           Other General Civil

      ☐       Check if the action is related to another action pending or previously pending in this court involving some or all of
              the same: parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in OCGA § 9-11-7.1.

      ☐       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

               ________________________________ Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                                   Version 1.1.20



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        Case 1:21-cv-03953-MHC Document 1-1 Filed 09/24/21 Page 39 of 51 E-FILED IN OFFICE - RJ
                                                                                              CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                   21-C-06314-S4
                                                                                               8/26/2021 9:55 AM
                                                                                             TIANA P. GARNER,CLERK

                          IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

CALVIN MOSES;

       Plaintiff,                                                CIVIL ACTION
                                                                            21-C-06314-S4
V.                                                               FILE NO.

ROADRUNNER TRANSPORTATION                                        JURY TRIAL DEMANDED
SERVICES INC and JOHN DOE;

        Defendants.



      FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO AND
                  NOTICE OF TAKING DEPOSITION DUCES TECUM OF
                   ROADRUNNER TRANSPORTATION SERVICES INC.

          PLEASE TAKE NOTICE that on a date to be agreed upon in the future, commencing at a time

 and place to be agreed upon by the parties, in this civil action, counsel for plaintiff will take the

 deposition of the corporate representative(s)designated by ROADRUNNER TRANSPORTATION

 SERVICES INC. (hereinafter referred to herein as "ROADRUNNER TRANSPORTATION")

 pursuant to 0.C.G.A. § 9-11-30(b)(6) on the subjects listed below. Said deposition will be

 conducted and shall continue from day to day thereafter until completed.

          This deposition will be taken upon oral examination before an agent authorized by law to

 take depositions and may also be recorded by video. This deposition will also be taken for all

 purposes allowed under the Georgia Civil Practice Act. All corporate designees will be deposed,

 as well, in his or her individual capacity at the deposition.




           FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
     AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
                                        Page 1
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                              Legal Requirement for Designees

        Pursuant to 0.C.G.A. § 9-11-30(b)(6), ROADRUNNER TRANSPORTATION shall

 designate one or more persons to testify about each of the subject matters or DOCUMENTS

 described herein. Pursuant to 0.C.G.A. § 9-11-30(b)(6), ROADRUNNER TRANSPORTATION

shall designate one or more officers, directors, or managing agents, or other persons who consent

to do so, to testify on its behalf, and ROADRUNNER TRANSPORTATION          may state the matters

on which each person designated will testify. Each person so designated by ROADRUNNER

TRANSPORTATION shall testify about matters known or reasonably available to the

organization.

        Each person so designated by ROADRUNNER TRANSPORTATION shall be prepared by

 ROADRUNNER TRANSPORTATION               to testify as to all information known or reasonably

available to ROADRUNNER TRANSPORTATION collectively regarding the .subject matter(s)

and/or DOCUMENTS for which they are designed. By producing an unprepared designee,

 ROADRUNNER TRANSPORTATION may be subjecting itself to the imposition of sanctions. So,

 please govern yourself accordingly.'




 ""The [organization] must prepare the designee to the extent matters are reasonably
available, whether from DOCUMENTS, past employees, or other sources." Brazos
River Auth. v. GE Ionics, Inc., 469 F.3d 416, 433 (5th Cir. 2006)(citation omitted). That
 preparation must enable the designee to "give complete, knowledgeable, and binding
answers on behalf of the corporation." Marker v. Union Fid. Life Ins. Co., 125 F.R.D.
 121, 126 (M.D.N.C.1989). If the deponent cannot answer questions regarding the
designated subject matter, "the corporation has failed to comply with its [Rule 1.310(b)
(6)] obligation and may be subject to sanctions . . . ." King v. Pratt & Whitney, a Div. of
 United Techs. Corp., 161 F.R.D. 475, 476 (S.D. Fla. 1995)."


       FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
 AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
                                    Page 2
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                           RULE 34 Document Production Required

       Pursuant     to    0.C.G.A.    §§     9-11-30(b)(5)    and     9-11-34,    ROADRUNNER

TRANSPORTATION shall produce within forty-five (45)days of the service of this First Combined

Request For Production Of Documents To Defendant And Notice Of Taking Videotaped

Deposition Duces Tecum Of Defendant all responsive DOCUMENTS described herein.

                                           Definitions

a. The terms "DOCUMENT" and "DOCUMENTS" are defined broadly to include anything upon
   which information, data, sound and/or images are contained regardless of media, regardless
   of how maintained (physically, electronically, or otherwise) and regardless of what it's called.
   The term includes, but is not limited to, all papers, records, files, correspondence, reports,
   meeting minutes, memoranda, notes, diaries, notebooks, contracts, agreements, leases,
   accounts, orders, invoices, statements, bills, checks, vouchers, orders, studies, surveys,
   charts, maps, analyses, publications, books, pamphlets, periodicals, catalogues, brochures,
   schedules, circulars, bulletins, notices, instructions, directives, forms, manuals,journals,
   electronically stored information, e-mails, e-mail attachments, data sheets, worksheets,
   statistical compilations, microfilms, computer records (including printouts, files, partitions,
   hard drives, disks or other magnetic storage media), tapes, photographs (prints, negatives,
   slides, and electronic), drawings, films, videotapes, pictures, and recordings. Includes all
   non-identical copies of DOCUMENTS, all attachments to DOCUMENTS, and both the front
   and rear of all pages that contain content.

b. The term "SUBJECT COLLISION" as used herein is defined as the collision at issue in this
   case and described in the Complaint.

c. The term "DRIVER" as used herein refers to the driver of ROADRUNNER TRACTOR
   hauling trailer number L60201 — shown in the photograph set forth in Plaintiffs Complaint.

                          Subject Matters and Documents Requested

       The subject matters and DOCUMENTS requested are as follows:

                         DEFENDANT ROADRUNNER TRANSPORTATION

       1. ROADRUNNER TRANSPORTATION 'S safety philosophy and mission statements,
          as such relate to the operation of company vehicles by its employees or agents.

              a. Produce all DOCUMENTS setting forth this safety philosophy.

       2. What ROADRUNNER TRANSPORTATION expects of its
          employee/agent/independent contractor drivers in connection with safety, honor,
          integrity, veracity, attitude, and the operation of commercial motor vehicles.



       FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
 AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
                                    Page 3
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            a. Produce all DOCUMENTS setting forth what ROADRUNNER
               TRANSPORTATION expects of its employee/agent/independent contractor
               drivers in connection with safety, defensive driving, honor, integrity, veracity,
               attitude, and the operation of commercial motor vehicles.

     3. The identity of the ROADRUNNER TRANSPORTATION 'S.safety officer that is
        responsible for ensuring that ROADRUNNER TRANSPORTATION 'S
        employee/agent/independent contractor drivers are properly trained and actually do
        drive in a reasonably safe manner and defensively when operating over public
        roadways, as of date of the SUBJECT COLLISION. If you contend there is no "safety
        officer," please provide the identity of the person in charge of driving safety at the
        time of the incident made the basis of this lawsuit, and the person in charge of
        safety's duties at the time.

    4. ROADRUNNER TRANSPORTATION 'S policies, procedures, practices, guidelines,
       instructions and expectations for its management and/or
       employee/agent/independent contractor drivers regarding the following areas and all
       DOCUMENTS that set forth or explain such policies, procedures, practices,
       guidelines, instructions and expectations:

            a. ROADRUNNER TRANSPORTATION 'S hiring and employment qualifications
                for those persons who would be driving commercial motor vehicles;
             b. Driver qualification;
            c. Driver training;
            d. Driving practices;
            e. Defensive driving;
            f. Supervision of employee/agent/independent contractor drivers;
            g. Accident investigation, review (e.g., review board) and reporting;
             h. Accident preventability and/or root cause determinations;
             i. Employee discipline;
            j. Employee termination;
            k. Document retention.
            I. Produce all such policies, procedures, practices, guidelines, instructions and
                expectations, including all DOCUMENTS evidencing the same; and
             m. Produce all DOCUMENTS evidencing or related to the topics described in the
                foregoing subparts "a" through "k."

    5. The relationship (e.g., employee, agent, independent contractor, etc.) between
       ROADRUNNER TRANSPORTATION and DRIVER throughout the time DRIVER
       worked with ROADRUNNER TRANSPORTATION.

            a. Produce all DOCUMENTS evidencing this relationship, including but not
               limited to contracts, leases or other DOCUMENTS governing the relationship.

    6. The manner in which DRIVER was compensated for his work with ROADRUNNER
       TRANSPORTATION.




      FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
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            a. Produce all DOCUMENTS evidencing payments made to DRIVER, including
               but not limited to all settlement statements, drayage statements and any
               other documentation of charges back to DRIVER.

     7. DRIVER's job duties, activities and responsibilities while working for ROADRUNNER
        TRANSPORTATION as of the date of the SUBJECT COLLISION.

            a. Produce all DOCUMENTS setting forth DRIVER'S job duties, activities and
               responsibilities while working for ROADRUNNER TRANSPORTATION as of
               the date of the SUBJECT COLLISION.

     8. ROADRUNNER TRANSPORTATION 'S qualification of DRIVER to operate a vehicle
        while operating such vehicles over public roadways.

            a. Produce all DOCUMENTS used to qualify DRIVER to operate a commercial
               motor vehicle for ROADRUNNER TRANSPORTATION.

            b. Produce all DOCUMENTS used to qualify DRIVER to drive a commercial
               motor vehicle for ROADRUNNER TRANSPORTATION.

                                   DEFENDANT DRIVER

   9.   DRIVER's medical, physical and psychological condition for the time-period
        beginning three years before the SUBJECT COLLISION to present. This includes,
        but is not limited to, any assessment for and treatment for sleep apnea and/or other
        fatigue related conditions.

           a. Produce all DOCUMENTS evidencing DRIVER'S medical, physical and
              psychological condition, including but not limited to all medical files, workers
              compensation files, disability files, and/or drug or alcohol testing files.

   10. DRIVER's driving and criminal history for the seven (7) years preceding the
       SUBJECT COLLISION.

           a. Produce all DOCUMENTS evidencing DRIVER'S driving history and criminal
              history for the seven (7) years preceding the SUBJECT COLLISION through
              the present date.

   1 1. All training ROADRUNNER TRANSPORTATION provided to DRIVER having
        anything to do with defensive driving and the reasonably safe operation of
        commercial motor vehicles over the public roadways and/or the compliance with the
        regulations and laws of the State of Georgia.

           a. Produce all DOCUMENTS evidencing the above training, testing to
              demonstrate that training objectives were met, and/or the successful
              completion of the above training, as well as supervision in the field showing
              actual compliance.




      FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
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            b. Produce all DOCUMENTS and training materials of any kind (presentations,
               handouts, booklets, books, videos, simulations, tests, answers, answer keys,
               etc.) that were used in connection with the above training.


     12. All supervisory actions, corrective actions, counseling actions, and disciplinary
         actions of any type ever taken regarding DRIVER, while he has driven for
         ROADRUNNER TRANSPORTATION. This includes all communication between
         anyone at ROADRUNNER TRANSPORTATION and DRIVER regarding any safety
         related issue or employment related issue. This would also include termination in the
         event that DRIVER has been terminated.

            a. Produce all DOCUMENTS relating to and/or addressing the above subjects.

                                  DISPATCH AND ROUTING

   13. The trip that DRIVER was on at the time of the Subject Collision:
            a. DRIVER'S intended route and whether he had deviated from that route;
            b. Where DRIVER was coming from and where he was going to at the time of the
               Subject Collision;
            c. When DRIVER was expected at his next stop (when the Subject Collision
               occurred) and whether he was on time for his expected next stop;


                                        EQUIPMENT
   14. Onboard Systems:

            a. The identification of all systems and devices of any kind that were on the
               vehicle operated by DRIVER at the time of the Subject Collision that are
               capable of monitoring, capturing, recording, and/or transmitting any data
               and/or communications (e.g., EOBR; GPS, satellite, cellular and other
               systems; engine, powertrain and brake control modules; trip or event
               recorders, lane departure warning systems, communication systems, onboard
               camera systems, etc.);

            b. Explanation of how each system and device operates, what data it is capable
               of monitoring, capturing, recording, and/or transmitting, how such data is
               stored and retrieved and what reports are capable of being run based upon the
               data and/or communications;

            c. The steps taken by anyone to preserve and, if applicable, to download the
               above-referenced data and communications;

            d. All persons involved in the process of preserving and/or downloading and/or
               analyzing the referenced data and communications;

            e. All data, communications and reports of any kind from each system and device
               that contains any data, information, depiction and/or communications related
               to the vehicle at issue within seventy-two (72) hours of the Subject Collision;


      FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
                                   Page 6
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            f.   Produce all of the above referenced data and communications and all reports
                 related thereto; and

            g. Produce all DOCUMENTS showing the purpose, capabilities functionalities,
               and operation of each such on-board system. including but not limited to all
               training materials, service contracts, manuals, instructions, and handbooks
               provided by the vendor supplying each on-board system and all materials
               created by ROADRUNNER TRANSPORTATION regarding the use and
               operation of each on-board system.

   15. The weight of the tractor-trailer at the time of the Subject Collision.

            a. Produce all DOCUMENTS showing same.

   16. The speed of the tractor-trailer at the time of the Subject Collision.

            a. Produce all DOCUMENTS showing same.

   17.   Whether DRIVER performed a proper pre-trip inspection prior to operating,the tractor-
         trailer on the date of the Subject Collision.

            a. Produce all pre-trip and post-trip driver inspections of the vehicle involved in
               the Subject Collision for the thirty (30) days leading up to and including the
               collision at issue and for the thirty (30) days following the Subject Collision.

   18.   ROADRUNNER TRANSPORTATION inspection and maintenance of the subject
         tractor-trailer for the period beginning 30 days prior to the date of the collision and
         ending 30 days after such date.

            a. Produce all DOCUMENTS evidencing all such inspections and maintenance.

                                  SUBJECT COLLISION

     19. The identity of each employee/agent/independent contractor of ROADRUNNER
         TRANSPORTATION, who came to the scene of the Subject Collision, each such
         person's position with ROADRUNNER TRANSPORTATION , why each such person
         came to the scene, and what each such person did at the scene, as well as the
         substance of communications made by each such person and any other person at
         the scene.

            a. Produce all DOCUMENTS generated by each employee/agent/independent
               contractor of ROADRUNNER TRANSPORTATION, who came to the scene
               of the Subject Collision, evidencing the Subject Collision and/or
               communications made bey each such person and any other person at the
               scene.




      FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
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     20. The identity of each employee of ROADRUNNER TRANSPORTATION, who in the
         ordinary course of ROADRUNNER TRANSPORTATION 'S business has been
         involved in any way in the investigation of the SUBJECT COLLISION, all steps taken
         by each such person during any such investigation, all evidence, information, and/or
        facts collected by each such person, the conclusions reached by each such person.

            a. Produce all DOCUMENTS generated by each such person and/or
               ROADRUNNER TRANSPORTATION concerning the investigation of the
               SUBJECT COLLISION and conclusions reached regarding the cause and/or
               contributing factors leading to the same.

     21. The identity of each person who communicated with DRIVER regarding the
         SUBJECT COLLISION.

            a. Produce all DOCUMENTS memorializing or evidencing to each such
               communication.

     22. ROADRUNNER TRANSPORTATION 'S understandings of how and why the
        SUBJECT COLLISION occurred; how such could be avoided in the future; all causes
         of and contributing factors to the SUBJECT COLLISION; and how ROADRUNNER
         TRANSPORTATION reached these understandings, including all investigations,
         reviews, evaluations, determinations, and actions by any supervisor, board, group,
        committee or person(s) concerning preventability, root cause, fault, avoid ability, Dot
         reportability and/or disciplinary determinations arising from the SUBJECT
         COLLISION.

            a. Produce all DOCUMENTS evidencing the above.

     23. All alcohol and drug tests administered to DRIVER by ROADRUNNER
         TRANSPORTATION at any time, including following the Subject Collison, and The
         results thereof.

            a. Produce all DOCUMENTS evidencing such tests, results and any corrective or
               disciplinary actions arising from the same.

                                  INSURANCE COVERAGE
    24. Insurance coverage available for the claimed losses sustained in this case (including
        self-insured retentions, deductibles, claims of self-insurance and all primary,
      • umbrella and excess coverages) and all reservation of rights letters sent by any
        insurer to ROADRUNNER TRANSPORTATION and/or DRIVER in connection with
        the SUBJECT COLLISION.

            a. Produce all DOCUMENTS evidencing such coverage and limits of coverage
               and assertions by employees of insurance coverage or of self-insurance.




      FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
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                                       DOCUMENT PRODUCTION

      25. The purpose and process for the receipt, creation, duplication, and/or storage of the
          documents responsive to the Request for Production made a part of this Notice of
          Taking Videotaped Deposition of Defendant ROADRUNNER TRANSPORTATION .

      26. All retention and destruction policies and procedures applicable to the documents
          and/or data responsive to the Request for Production made a part of this Notice of
          Taking Videotaped Deposition of Defendant ROADRUNNER TRANSPORTATION.

      27. The efforts undertaken by ROADRUNNER TRANSPORTATION to ensure that all
          DOCUMENTS responsive to the Request for Production made a part of this Notice of
          Taking Videotaped Deposition of Defendant ROADRUNNER TRANSPORTATION
          are complete and that all responsive DOCUMENTS have been produced as well as
          a full and complete explanation as to why any document was not fully produced
          and/or was withheld from production.
      Served with the Complaint.

                                           WLG ATLANTA,LLC

                                           /s/ R. Sean McEvoy
                                           R. SEAN MCEVOY
                                           GEORGIA STATE BAR NUMBER 490918
                                           A TTORNEY FOR PLAINTIFF
600 PEACHTREE ST NE, SUITE 4010
ATLANTA, GEORGIA 30308
TELEPHONE:    470-480-7540
E-MAIL:       sean.mcevoywitheritelaw.com




      FIRST COMBINED RULE 34 REQUEST FOR PRODUCTION OF DOCUMENTS TO
AND NOTICE OF TAKING DEPOSITION DUCES TECUM OF ROADRUNNER TRANSPORTATION —
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/27/2021
                                                                                                    CT Log Number 540149808
TO:         Andrew Mikulecky
            Roadrunner Transportation Services, Inc.
            1100 MILWAUKEE AVE
            SOUTH MILWAUKEE, WI 53172-2013

RE:         Process Served in Georgia

FOR:        Roadrunner Transportation Services, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Calvin Moses, Pltf. vs. Roadrunner Transportation Services Inc and John Doe, Dfts.
                                                  Name discrepancy noted.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 21C06314S4
NATURE OF ACTION:                                 Personal Injury - Vehicle Collision
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Lawrenceville, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 08/27/2021 at 10:57
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780139481429

                                                  Image SOP

                                                  Email Notification, Andrew Mikulecky amikulecky@rrts.com

                                                  Email Notification, Eric Allison eallison@rrts.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  289 S. Culver St.
                                                  Lawrenceville, GA 30046
                                                  866-331-2303
                                                  CentralTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
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                                                                                                    Page 1 of 1 / AJ
              Case 1:21-cv-03953-MHC Document 1-1 Filed 09/24/21 Page 49 of 51                                E-FILED IN OFFICE - RJ
                                                                                                            CLERK OF STATE COURT
                                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                                 21-C-06314-S4
                             IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                              8/26/2021 9:55 AM
                                                                                                            TIANA P. GARNER,CLERK

                                                 STATE OF GEORGIA

Calvin Moses do WLG Atlanta
600 Peachtree ST NE, Suite 4010
                                                                                        ACTION
                                                                                         C ION     21-C-06314-S4
Atlanta, GA 30308                                                                   NUMBER:

                                  PLAINTIFF


                      VS.

Roadrunner Transportation Services INC
do C T Corporation System
289 S Culver ST., Lawrenceville, GA 30046

                                  DEFENDANT




                                                       SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
    R. Sean McEvoy
    WLG Atlanta, LLC
    600 Peachtree ST NE,
    Suite 4010
    Atlanta, GA 30308
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.
        26TH                        AUGUST                                     21
This                     day of                                           , 20       .


                                                                           Tiana P. Garner
                                                                           Clerk of State Court



                                                                          By



INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1.Rev. 2011
                                                                                       E-FILED IN OFFICE - JM
                    Case 1:21-cv-03953-MHC Document 1-1 Filed 09/24/21 Page 50 of 51 CLERK OF STATE COURT
                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                           21-C-06314-S4
                                                                                       9/1/2021 10:35 AM
                                                                                     TIANA P. GARNER, CLERK




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